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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,                                      ORDER

                          Plaintiff,
                                                              15-cr-54-wmc-2
            v.

AMADOU CAMARA,

                          Defendant.


         Pursuant to telephonic hearing today at which the government was represented by

  Assistant U.S. Attorney Robert Anderson and defendant was represented by Greg Dutch,

  the court GRANTED defendant’s Motion to Stay Prison Report Date for an additional 30

  days (dkt. #229).    All release conditions remain the same; Mr. Camara is ordered to

  report on April 4th at a time and place to be designated by further order of the court.

         Entered this 29th day of February, 2016.

                                            BY THE COURT:

                                            /s/
                                            ___________________________________________
                                            WILLIAM M. CONLEY
                                            District Judge




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